Case 2:04-cr-20006-SH|\/| Document 52 Filed 06/14/05 Page 1 of 2 Page|D 57

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 55 .jl:`j-§ th PH !.t: | {
Western Division
lots
‘ ..=`..L-_t»i§, %1.3 DES`I`. C`a'.
)_<;_;. ‘-`-¢`t`. OF 'N, la»='iEhtiPE-‘HS

uuuuu

UNITED STATES OF AMERICA
-vs- Case No. 2:04cr20006-1-Ma

GEROME MILEY
a/k!a Kassiem J. Miley

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING' PURSUANT TO
BAIL REFORM ACT
Upon motion of the Government, it is ORDERED that a detention hearing is Set for
FRIDAY, JUNE 17, 2005 at 3:00 P.M. before United States Magistrate Judge Tu M. Pham in
Cou rtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,

Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States

Marshal and produced for the hearing

Date: June l4, 2005 LM
TU M. PHAM

UNITED STATES MAGISTRATE IUDGE

 

'If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(t')(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1") are present. Subsection (l ) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer‘s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

   

AO 470 (8185) Order of Temporary Detent|on

Thts document entered on the dockets ln p §
with Hule 55 and/or 32(b) FFICrP on

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:04-CR-20006 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

